        Case 4:10-cv-04990 Document 1 Filed on 12/14/10 in TXSD Page 1 of 3




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

Jennifer Moreno,                                    Case No.

         Plaintiff,
                                                       COMPLAINT FOR DAMAGES
v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT AND OTHER
National Credit Works, Inc.,                               EQUITABLE RELIEF


         Defendant.                                  JURY DEMAND ENDORSED HEREIN

                                                PARTIES

1. Plaintiff is a natural person who resided in Conroe, Texas at all times relevant to this action.

2. Defendant is a New York Corporation that maintained its principal place of business in North

     Tonawanda, NY at all times relevant to this action.

                                   JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

5. At all times relevant to this action, Defendant engaged in the business of consumer debt

     collection.

6. Defendant regularly uses the telephone and mail to collect consumer debts that Defendant

     either purchased or had been hired to collect.

7. The principal source of Defendant’s revenue is debt collection.




                                                     1
      Case 4:10-cv-04990 Document 1 Filed on 12/14/10 in TXSD Page 2 of 3




8. Defendant is a "debt collector” as defined by 15 U.S.C. §1692a(6).

9. As described below, Defendant contacted Plaintiff about an obligation allegedly owed to

   Viking Holdings Group, Inc., which had been incurred for personal rather than commercial

   purposes.

10. This obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

11. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) because Defendant has alleged

   that Plaintiff owes the debt.

12. On or around September 29, 2010, Defendant’s employee telephoned Plaintiff at Plaintiff’s

   place of employment and identified himself as “Investigator Smith”.

13. During this communication, “Investigator Smith” falsely represented that criminal charges

   would be filed against Plaintiff by October 1, 2010 unless she paid Defendant.

14. During this communication, “Investigator Smith” threatened that Plaintiff might be thrown in

   jail or lose her children as a result of such charges.

15. During this communication, “Investigator Smith” threatened that he was instructed to

   disconnect the call immediately and proceed with filing such charges if Plaintiff ever

   interrupted him during this call.

16. Defendant caused Plaintiff emotional distress.

17. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which was to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.




                                                  2
       Case 4:10-cv-04990 Document 1 Filed on 12/14/10 in TXSD Page 3 of 3




                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    in connection with the collection of the debt.

                                          JURY DEMAND

22. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

23. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




                                                RESPECTFULLY SUBMITTED,

                                                Macey & Aleman, P.C.

                                                By: s/ Timothy J. Sostrin
                                                   Timothy J. Sostrin, attorney-in-charge
                                                   IL Bar # 6290807
                                                   SD Texas Bar # 980881
                                                   233 S. Wacker Drive, Suite 5150
                                                   Chicago, IL 60606
                                                   Telephone: 866-339-1156
                                                   Email: tjs@legalhelpers.com
                                                   Attorneys for Plaintiff




                                                   3
